






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00471-CV






Formulation Technologies, LLC, d/b/a PharmaForm, Appellant


v.


Michael Crowley, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. D-1-GN-10-000546, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N




		Appellant Formulation Technologies, LLC, d/b/a PharmaForm has filed an unopposed
motion to dismiss its appeal informing this Court that the parties have resolved their dispute.  We
grant the motion and dismiss the appeal.  See Tex. R. App. P. 42.1(a)(1).

				


	 					                                                                                    

						 J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Dismissed on Appellant's Motion

Filed:   November 2, 2010


